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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION


  State of Missouri, et al.,

                               Intervenor-Plaintiffs,

          v.                                                       Case No. 2:22-cv-00223-Z

  U.S. Food and Drug Administration, et al.,

                               Defendants,

          and

  Danco Laboratories, LLC,

                               Intervenor-Defendant.


                                 DEFENDANTS’ MOTION TO DISMISS

         Pursuant to Federal Rule of Civil Procedure 12(b), Defendants hereby respectfully move to

 dismiss the Intervenor States’ Amended Complaint (ECF No. 217). Venue in this District is

 improper, and therefore the States’ Amended Complaint should be dismissed, see Fed. R. Civ.

 P. 12(b)(3), or transferred to a District where venue may be proper—i.e., the District of Columbia,

 the District of Maryland, the Western District of Missouri, the District of Idaho, or the District of

 Kansas. See 28 U.S.C. § 1406(a).

         Alternatively, the States’ Amended Complaint should be dismissed because this Court lacks

 Article III jurisdiction over the States’ claims; the States failed to administratively exhaust their

 claims; and the States’ challenges to Defendants’ 2016 actions are barred by the statute of

 limitations. See Fed. R. Civ. P. 12(b)(1), (6).

         The reasons supporting this motion are set forth in the accompanying Memorandum, and a

 proposed order is attached.
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 January 18, 2025                         Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General

                                          ERIC B. BECKENHAUER
                                          Assistant Director

                                          /s/ Daniel Schwei
                                          DANIEL SCHWEI
                                          Special Counsel
                                          Federal Programs Branch
                                          Civil Division
                                          U.S. Department of Justice
                                          1100 L St., NW
                                          Washington, DC 20005
                                          202-305-8693
                                          daniel.s.schwei@usdoj.gov

                                          AMANDA N. LISKAMM
                                          Director

                                          HILARY K. PERKINS
                                          Assistant Director

                                          NOAH T. KATZEN
                                          Trial Attorney
                                          Consumer Protection Branch

                                          Counsel for Defendants
